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1                                  UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
2

3    SPENCER NEAL,                                  )       CASE NO.: _____________________
                                                    )
4                   Plaintiff,                      )       JUDGE ________________________
                                                    )
5
            vs.                                     )       COMPLAINT FOR INJUNCTIVE
6                                                   )       RELIEF AND DAMAGES:
                                                    )
7    SUNBURST HOTELS LLC,                           )       1ST CAUSE OF ACTION: For Denial of
                                                    )       Access by a Public Accommodation in
8
                    Defendant.                      )       Violation of the Americans with Disability
9                                                   )       Act of 1990 (“Title III” and “ADA”),
                                                    )       42 U.S.C. §§ 12181 et seq.
10                                                  )
                                                    )       2ND CAUSE OF ACTION: For Denial of
11
                                                    )       Access by a Public Accommodation in
12                                                  )       Violation of Ohio Revised Code 4112.02, et
                                                    )       seq.
13                                                  )
                                                    )       3RD CAUSE OF ACTION: For Denial of
14
                                                    )       Access by a Public Accommodation in
15                                                  )       Violation of Ohio Administrative Code
                                                    )       4101:1-11, et seq.
16
            Plaintiff SPENCER NEAL Complains of Defendant SUNBURST HOTELS LLC, doing
17

18   business as QUALITY INN & SUITES, and alleges as follows:

19   INTRODUCTION:
20
            1.      This is a civil rights action for discrimination against persons with physical
21
     disabilities, of which plaintiff is a member of, for failure to remove architectural barriers
22
     structural in nature at Defendant’s property, a place of public accommodation, thereby
23

24   discriminatorily denying plaintiff access to, the full and equal enjoyment of, opportunity to

25   participate in, and benefit from, the goods, facilities, services, and accommodations thereof.
26
     Plaintiff seeks injunctive relief and damages pursuant to the Americans with Disability Act of
27
     1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.; Ohio Revised Code § 4112.02, et
28
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1    seq.; and Ohio Administrative Code § 4101:1-11, et sec.
2
               2.    Plaintiff SPENCER NEAL is a person with physical disabilities who, on or about
3
     December 13, 2018 through December 14, 2018, was an invitee, guest, patron, or customer at
4
     Defendant’s property, which houses a QUALITY INN & SUITES hotel, located at 7500 Vantage
5

6    Drive, Columbus, OH 43235. At said time and place, Defendant failed to provide proper legal

7    access to the property, which is a public accommodation and/or public facility. The denial of
8
     access was in violation of both federal and Ohio legal requirements, and NEAL suffered
9
     violations of his civil rights to full and equal access and was embarrassed and humiliated.
10
     JURISDICTION AND VENUE:
11

12             3.    Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.

13   §1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.
14
     Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
15
     nucleus of operative facts and arising out of the same transactions, are also brought under
16
     parallel Ohio law, whose goals are closely tied with the ADA, including but not limited to
17

18   violations of Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code § 4101:1-11,

19   et sec.
20
               4.    Venue: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is
21
     founded on the facts that the real property which is the subject of this action is located in this
22
     district, in the City of Columbus, County of Franklin, State of Ohio and that plaintiffs’ causes of
23

24   action arose in this district.

25   PARTIES:
26
               5.    Plaintiff SPENCER NEAL is a “physically handicapped person,” a “physically
27
     disabled person,” and a “person with physical disabilities.” (Hereinafter the terms “physically
28
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1    disabled,” “physically handicapped” and “person with physical disabilities” are used
2
     interchangeably, as these words have similar or identical common usage and legal meaning.)
3
     NEAL is a “person with physical disabilities,” as defined by all applicable Ohio and United
4
     States laws. NEAL requires the use of a wheelchair to travel about in public. Consequently,
5

6    NEAL is a member of that portion of the public whose rights are protected by the provisions of

7    Ohio Revised Code § 4112.02, et seq. and Ohio Administrative Code § 4101:1-11, et sec.
8
             6. Defendant SUNBURST HOTELS LLC, an Ohio Limited Liability Company, is the
9
     owner and operator, lessor and/or lessee, or agent of the owner, lessor and/or lessee, of the
10
     building and/or buildings which constitute a public facility in and of itself, occupied by the
11

12   QUALITY INN & SUITES hotel, a public accommodation, located at/near 7500 Vantage Drive,

13   Columbus, OH 43235, and subject to the requirements of Ohio state law requiring full and equal
14
     access to public facilities pursuant to Ohio Revised Code § 4112.02, et seq., Ohio Administrative
15
     Code § 4101:1-11, et sec., and subject to the Americans with Disability Act of 1990 (“TITLE
16
     III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and to all other legal requirements referred to in
17

18   this complaint.

19           7. At all times relevant to this complaint, Defendant is the lessee, or agent of the
20
     lessee, and/or lessor, of said premises, and owns and operates the subject QUALITY INN &
21
     SUITES hotel as a public facility at/near 7500 Vantage Drive, Columbus, OH 43235. The
22
     business, a QUALITY INN & SUITES hotel, is open to the general public and conducts business
23

24   therein. The business operating on said premises is a public accommodation subject to the

25   requirements of Ohio Revised Code § 4112.02, et seq. and Ohio Administrative Code § 4101:1-
26
     11, et sec.
27
             8. At all times relevant to this complaint, Defendant is the landlords/lessors,
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 3
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1    tenants/lessees and the owners and operators of the subject hotel, a public accommodation
2
     located at/near 7500 Vantage Drive, Columbus, OH 43235. As such, Defendant is jointly and
3
     severally responsible to identify and remove architectural barriers pursuant to Code of Federal
4
     Regulations section 36.201(b), which states in pertinent part:
5

6           § 36.201        General

7                           (b) Landlord and tenant responsibilities. Both the landlord
                            who owns the building that houses a place of public
8
                            accommodation and the tenant who owns or operates the place of
9                           public accommodation are public accommodations subject to the
                            requirements of this part. As between the parties, allocation of
10                          responsibility for complying with the obligations of this part may
                            be determined by lease or other contract.
11

12                          CFR §36.201(b)

13          9. Plaintiff does not know the true names of Defendant, its business capacities, its
14
     ownership connection to the property and business, nor their relative responsibilities in causing
15
     the access violations herein complained of. Plaintiff is informed and believes that the Defendant
16
     herein is a public accommodation, and is the agent, ostensible agent, master, servant, employer,
17

18   employee, representative, franchisor, franchisee, partner, and associate, or such similar capacity,

19   of each of the other defendants, if any, and was at all times acting and performing, or failing to
20
     act or perform, within the course and scope of his, her or its authority as agent, ostensible agent,
21
     master, servant, employer, employee, representative, franchiser, franchisee, partner, and
22
     associate, or such similar capacity, and with the authorization, consent, permission or ratification
23

24   of each of the other defendants, and is responsible in some manner for the acts and omissions of

25   the other defendants in legally causing the violations and damages complained of herein, and
26
     have approved or ratified each of the acts or omissions of each other defendant, as herein
27
     described.
28
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1    PRELIMINARY FACTUAL ALLEGATIONS:
2
            10. Defendant is the entity that is a public accommodation that owns, leases (or
3
     leases to), or operates a, QUALITY INN & SUITES hotel, located at 7500 Vantage Drive,
4
     Columbus, OH 43235. QUALITY INN & SUITES hotel and each of its facilities are places “of
5

6    public accommodation” subject to the requirements of the Americans with Disability Act of

7    1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio Revised Code § 4112.02, et
8
     seq.; and Ohio Administrative Code § 4101:1-11, et sec. On information and belief, said facility
9
     has undergone “alterations, structural repairs and additions,” each of which has subjected the
10
     QUALITY INN & SUITES hotel to handicapped access requirements.
11

12          11. Plaintiff SPENCER NEAL is a person with a disability. NEAL is a “physically

13   disabled person,” as defined by all applicable Ohio and United States laws. NEAL is paralyzed
14
     as a result of spina bifida and requires the use of a wheelchair for mobility and to travel in public.
15
            12. At all times referred to herein and continuing to the present time, Defendant
16
     advertised, publicized and held out the QUALITY INN & SUITES hotel as being handicapped
17

18   accessible and handicapped usable.

19          13. On or about December 13, 2018 through December 14, 2018, NEAL was an invitee
20
     and guest at the subject QUALITY INN & SUITES hotel, arriving for purposes of obtaining
21
     lodging.
22
            14.     Upon his arrival, during his patronizing of the public accommodation, and upon
23

24   his exit of the facility, NEAL personally encountered architectural barriers which denied him the

25   full and equal access to the property.
26
            15. Therefore, at said time and place, NEAL, who is a person with disabilities,
27
     encountered the following inaccessible elements of the subject QUALITY INN & SUITES hotel
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 5
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1    which constituted architectural barriers and a denial of the proper and legally required access to a
2
     public accommodation to persons with physical disabilities. By way of example and not as an
3
     exhaustive inventory of Defendant’s violations, the following barriers to access were personally
4
     encountered by plaintiffs:
5

6    a.     In the parking lot, behind the building, the access aisle is missing at the accessible
     parking stall in violation of 2010 ADAS Section: 502.2 and 1991 ADAS Section: 4.1.2(1).
7
     b.     In the parking lot, at the lobby entry, the access aisles are missing at 2 of the accessible
8    parking stalls in violation of 2010 ADAS Section: 502.2 and 1991 ADAS Section: 4.1.2(1).
9    c.    In the parking lot, the far right access aisle is not a minimum 5 feet wide in violation of
10
     2010 ADAS Section: 502.3.1 and 1991 ADAS Section: 4.1.2(1).

11
     d.    In the parking lot, the access aisle is not a minimum 8 feet wide in violation of 2010
     ADAS Section: 502.2 Exception and 1991 ADAS Section: 4.1.2(1).
12
     e.     In the parking lot, throughout the building perimeter at parking stalls designed to be
13   accessible, the required parking signage is missing in violation of 2010 ADAS Section: 502.6.
14   f.     In the parking lot, the access aisle is not located on an accessible route of travel to the
     accessible building entrance in violation of 2010 ADAS Section: 208.3.1, 502.3 and 1991 ADAS
15
     Section: 4.6.3.
16
     g.      In regards to the accessible route, the building entrance is not located on an accessible
17   route in violation of 2010 ADAS Section: 206.2.1 and 1991 ADAS Section: 4.1.2(1).

18   h.      In regards to the accessible route, there is no accessible route to the picnic bench / table
     in violation of 2010 ADAS Section: 206.2.2 and 1991 ADAS Section: 4.1.2(1).
19
     i.      In regards to the accessible route, at the outdoor picnic table, compliant knee and/or toe
20   clearance is not provided in violation of 2010 ADAS Section: 306.2.1 and 1991 ADAS Section:
21
     4.32.3.

22   j.     In regards to the accessible route, at Door #6, the landing on the pull side of the doors
     does not extend far enough on the latch side in violation of 2010 ADAS Section: 404.2.4.1 and
23   1991 ADAS Section: 4.13.6.
24   k.     In regards to the accessible route,aAt Door #7, the landing on the pull side of the doors
     does not extend far enough on the latch side in violation of 2010 ADAS Section: 404.2.4.1 and
25
     1991 ADAS Section: 4.13.6.
26
     l.     At the lobby area, the transaction counter is too high in violation of 2010 ADAS Section:
27   904.4.2, 904.4.1 and 1991 ADAS Section: 7.2(1).

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 6
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1    m.    At the lobby area, the doormat is not secured in place at the entry door in violation of
     2010 ADAS Section: 302.2 and 1991 ADAS Section: 4.5.3.
2
     n.     In the men’s lobby, there is a pedestal sink and compliant knee space has not been
3
     provided under the lavatory in violation of 2010 ADAS Section: 306.3.1.
4
     o.     In men’s restroom, the top rim of the lavatory is too high in violation of 2010 ADAS
5    Section: 606.3 and 1991 ADAS Section: 4.19.

6    p.     In the men’s restroom, the side grab bar is too low in violation of 2010 ADAS Section:
     609.4 and 1991 ADAS Section: 4.17.6.
7
     q.     In the men’s restroom, the side grab bar is too high in violation of 2010 ADAS Section:
8    609.4 and 1991 ADAS Section: 4.17.6.
9
     r.     In the men’s restroom, the rear grab bar is missing in violation of 2010 ADAS Section:
10   609.4 and 1991 ADAS Section: 4.16.4.

11   s.      In the men’s restroom, the toilet is not located within the range allowed from the side
     wall or partition in violation of 2010 ADAS Section: 604.2.
12
     t.       In the men’s restroom, the lavatory projects into the clear floor space required for the
13   toilet in violation of 2010 ADAS Section: 604.3.2.
14   u.      In the men’s restroom, the soap dispenser's operation mechanism is too high off the floor
15
     in violation of 2010 ADAS Section: 308.2.1.

16   v.      In the men’s restroom, the soap dispenser is not accessible because there is not adequate
     clear floor space for either a forward or side approach in violation of 2010 ADAS Section: 305.3
17   and 1991 ADAS Section: 4.2.4.1.
18   w.      In the men’s restroom, the paper towel dispenser's operation mechanism is too high off
     the floor in violation of 2010 ADAS Section: 308.2.1.
19
     x.     In room 114, the wall sign is incorrectly located in violation of 2010 ADAS Section:
20
     703.4.1.
21
     y.     In room 114, a visual fire alarm system is required in violation of 2010 ADAS Section:
22   702.1.

23   z.      In room 114, neither leaf of the closet door provides at least 32 inches between the face
     of the door and the opposite stop, in violation of 2010 ADAS Section: 404.2.3, 404.2.2 and 1991
24   ADAS Section: 4.13.5.
25   aa.     In room 114, the route of travel at this location does not provide a minimum width of 36
26
     inches in violation of 2010 ADAS Section: 403.5.1 and 1991 ADAS Section: 4.3.3.

27   bb.    In room 114, the drape wands and window controls are too high and out of the maximum
     reach range for a side approach in violation of 2010 ADAS Section: 308.3.2 and 1991 ADAS
28   Section: 4.2.6.
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1    cc.     In room 114, compliant knee and/or toe clearance is not provided as it less than 30" wide
     in violation of 2010 ADAS Section: 306.2.1 and 1991 ADAS Section: 4.32.3.
2
     dd.    In room 114, the shelf, cups and ice bucket are too high and out of the maximum reach
3
     range for a side approach in violation of 2010 ADAS Section: 308.3.2 and 1991 ADAS Section:
4    4.2.6.

5    ee.     In room 114, the clear floor space around the toilet is obstructed by the bathtub in
     violation of 2010 ADAS Section: 604.3.2.
6
     ff.    In room 114, the rear grab bar does not extend adequately past the centerline of the toilet
7    on the wall side in violation of 2010 ADAS Section: 604.5.2 and 1991 ADAS Section: 4.17.6.
8    gg.   In room 114, the rear grab bar is not a minimum 36 inches in length in violation of 2010
9    ADAS Section: 604.5.2 and 1991 ADAS Section: 4.16.4.

10   hh.     In room 114, the side grab bar is located greater than 12 inches from the rear wall in
     violation of 2010 ADAS Section: 604.5.1 and 1991 ADAS Section: 4.16.4.
11
     ii.    In room 114, the tissue box and towel bars are mounted too close to the top of the side
12   grab bar, minimizing the gripping surface in violation of 2010 ADAS Section: 609.3.
13   jj.     In room 114, knee clearance at 27 inches off the floor is not 8 inches minimum deep due
     to the shower chair obstructing the clear floor space in violation of 2010 ADAS Section: 306.3.3
14
     and 1991 ADAS Section: 4.19.2.
15
     kk.   In room 114, the hair dryer is too high and is out of the maximum reach range for a side
16   approach in violation of 2010 ADAS Section: 308.3.1.

17   ll.     In room 114, the clearance in front of the tub does not extend the full length of the tub,
     the toilet obstructs it in violation of 2010 ADAS Section: 607.2 and 1991 ADAS Section: 4.20.2.
18
     mm. In room 114, the bottom grab bar is not located correctly in violation of 2010 ADAS
19
     Section: 607.4.1 and 1991 ADAS Section: 4.20.4.
20

21   On personal knowledge, information and belief, other public facilities and elements too

22   numerous to list were improperly inaccessible for use by persons with physical disabilities.
23
            16. At all times stated herein, the existence of architectural barriers at Defendant’s
24
     place of public accommodation evidenced “actual notice” of Defendant’s intent not to comply
25
     with the Americans with Disability Act of 1990 (“title III” and “ADA”), 42. U.S.C. §§ 12181 et
26

27   seq., Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.

28   either then, now or in the future.
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1            17. As a legal result of Defendant’s failure to act as a reasonable and prudent public
2
     accommodation in identifying, removing or creating architectural barriers, policies, practices and
3
     procedures that denied access to plaintiff and other persons with disabilities, plaintiffs suffered
4
     damages as alleged herein.
5

6            18. As a further legal result of the actions and failure to act of Defendant, and as a

7    legal result of the failure to provide proper handicapped-accessible public facilities as set forth
8
     herein, NEAL was denied his civil rights to full and equal access to public facilities. NEAL
9
     suffered a loss of his civil rights and his rights as a person with physical disabilities to full and
10
     equal access to public facilities, and further suffered from injury, shame, humiliation,
11

12   embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated

13   with a person with physical disabilities being denied access, all to their damages as prayed
14
     hereinafter in an amount within the jurisdiction of this court.
15
             19. On information and belief, construction alterations carried out by Defendant have
16
     triggered access requirements under Americans with Disability Act of 1990 (“TITLE III” AND
17

18   “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio Revised Code § 4112.02, et seq.; and Ohio

19   Administrative Code §4101:1-11, et sec.
20
             20. NEAL, as described herein below, seeks injunctive relief to require the QUALITY
21
     INN & SUITES hotel to be made accessible to meet the requirements of both Ohio law and the
22
     Americans with Disabilities Act, whichever is more restrictive, so long as Defendant operates
23

24   and/or leases the QUALITY INN & SUITES hotel as a public facility. Plaintiff seeks damages

25   for violation of his civil rights, from the date of his visit until such date as Defendant brings the
26
     establishment into full compliance with the requirements of Ohio and federal law.
27
             21. On information and belief, Defendant has been negligent in its affirmative duty
28
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1    to identify the architectural barriers complained of herein and negligent in the removal of some
2
     or all of said barriers.
3
             22. Because of Defendant’s violations, NEAL and other persons with physical
4
     disabilities are unable to use public facilities such as those owned and operated by Defendant on
5

6    a “full and equal” basis unless such facility is in compliance with the provisions of the

7    Americans with Disabilities Act and other accessibility law as plead herein. Plaintiff seeks an
8
     order from this court compelling Defendant to make the QUALITY INN & SUITES hotel
9
     accessible to persons with disabilities.
10
             23.    On information and belief, Defendant has undertaken to modify and alter existing
11

12   building(s), and has failed to make them comply with accessibility requirements.

13   The acts and omissions of Defendant in failing to provide the required accessible public facilities
14
     at the time of plaintiff's visit and injuries, indicate actual and implied malice towards plaintiff,
15
     and despicable conduct carried out by Defendant with a willful and conscious disregard for the
16
     rights and safety of plaintiff and other similarly situated persons, and justify punitive damages
17

18   pursuant to Ohio Revised Code § 2315.21, in amounts sufficient to make a more profound

19   example of Defendant to other operators of other establishment and other public facilities, and to
20
     punish Defendant and to carry out the purposes of § 2315.21.
21
             24. Plaintiff is informed and believes and therefore alleges that Defendant caused the
22
     subject property to be constructed, altered and/or maintained in such a manner that persons with
23

24   physical disabilities were denied full and equal access to, within and throughout said facility of

25   the QUALITY INN & SUITES hotel and were denied full and equal use of said public facility.
26
     Further, on information and belief, Defendant has continued to maintain and operate said facility
27
     in such conditions up to the present time, despite actual and constructive notice to such
28
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1    Defendant that the configuration of the establishment and/or its building(s) are in violation of the
2
     civil rights of persons with physical disabilities, such as plaintiff and the disability community.
3
     Such construction, modification, ownership, operation, maintenance and practices of such public
4
     facilities are in violation of law as stated in Americans with Disability Act of 1990 (“TITLE III”
5

6    AND “ADA”), 42. U.S.C. §§ 12181 et seq. and elsewhere in the laws of Ohio.

7            25. On information and belief, the subject public facility of the QUALITY INN &
8
     SUITES hotel denied full and equal access to plaintiff and other persons with physical
9
     disabilities in other respects due to noncompliance with requirements of Ohio Revised Code §
10
     4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.
11

12           26. On personal knowledge, information and belief, the basis of Defendant’s actual

13   and constructive notice that the physical configuration of the facilities including, but not limited
14
     to, architectural barriers constituting the QUALITY INN & SUITES hotel was in violation of the
15
     civil rights of persons with physical disabilities, such as plaintiff, includes, but is not limited to,
16
     communications with invitees and guests, owners of other establishments and businesses, notices
17

18   Defendant obtained from governmental agencies upon modification, improvement, or substantial

19   repair of the subject premises and other properties owned by the Defendant, newspaper articles
20
     and trade publications regarding the Americans with Disabilities Act and other access laws,
21
     public service announcements, and other similar information. Defendant’s failure, under state
22
     and federal law, to make the establishment accessible is further evidence of Defendant’s
23

24   conscious disregard for the rights of plaintiff and other similarly situated persons with

25   disabilities. The scope and means of the knowledge of Defendant are within Defendant’s
26
     exclusive control and cannot be ascertained except through discovery. Despite being informed of
27
     such effect on plaintiff and other persons with physical disabilities due to the lack of accessible
28
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1    facilities, Defendant knowingly and willfully refused to take any steps to rectify the situation and
2
     to provide full and equal access for plaintiffs and other persons with physical disabilities to the
3
     establishment. Said Defendant has continued such practices, in conscious disregard for the rights
4
     of plaintiff and other persons with physical disabilities, up to the date of filing of this complaint,
5

6    and continuing thereon. Said conduct, with knowledge of the effect it was and is having on

7    plaintiff and other persons with physical disabilities, constitutes despicable conduct in conscious
8
     disregard of the rights and safety of plaintiffs and of other similarly situated persons, justifying
9
     the imposition of punitive damages pursuant to Ohio law.
10
            27. Plaintiff will return to the subject QUALITY INN & SUITES hotel to patronize the
11

12   hotel, if the hotel is made fully accessible to a disabled person in a wheelchair, and to also avail

13   himself of the hotel’s services.
14
            29. Additionally, plaintiff frequently travels to and stays in Columbus, Ohio for business
15
     and for personal matters. As president of Open Gate Fair Housing, a nonprofit dedicated to
16
     eliminating discrimination in the area of housing, NEAL meets with disabled citizens of Ohio, or
17

18   their representatives, who are experiencing housing discrimination or discrimination based on

19   other public accommodations, barriers to access, or government abuse.
20
            30. During the date in question here, December 13, 2018 through December 14, 2018,
21
     NEAL’s purpose for visiting the Columbus area and the QUALITY INN & SUITES hotel was to
22
     visit his colleague and friend and to test certain public accommodations for accessibility under
23

24   the Americans with Disabilities Act and Ohio law. Plaintiff Neal visited the QUALITY INN &

25   SUITES hotel because, one, it was located in a convenient location for Neal, and, two, he was
26
     informed that the hotel had numerous inaccessible barriers to access therein.
27
            31.     Furthermore, plaintiff intends to return to the QUALITY INN & SUITES hotel as
28
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1    an ADA tester on an annual basis beginning in 2020, to ascertain whether Defendant removed
2
     the barriers to access which are the subject of this litigation.
3
     I.      FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
4            ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
             DISABILITIES ACT OF 1990 (42 U.S.C. §12101, et seq.)
5

6            32.     Plaintiff pleads and incorporates by reference, as if fully set forth again herein,

7    the allegations contained in paragraphs 1 through 31 of this complaint.
8
             33.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.
9
     §12101 regarding persons with physical disabilities, finding that laws were needed to more fully
10
     protect:
11

12                   some 43 million Americans with one or more physical or mental
                     disabilities; [that] historically society has tended to isolate and
13                   segregate individuals with disabilities; [that] such forms of
                     discrimination against individuals with disabilities continue to be a
14
                     serious and pervasive social problem; [that] the nation’s proper
15                   goals regarding individuals with disabilities are to assure equality
                     of opportunity, full participation, independent living and economic
16                   self-sufficiency for such individuals; [and that] the continuing
                     existence of unfair and unnecessary discrimination and prejudice
17
                     denies people with disabilities the opportunity to compete on an
18                   equal basis and to pursue those opportunities for which our free
                     society is justifiably famous.
19
          34. Congress stated as its purpose in passing the Americans with Disabilities Act of
20

21   1990 (42 U.S.C. §12102):

22                   It is the purpose of this act (1) to provide a clear and
                     comprehensive national mandate for the elimination of
23
                     discrimination against individuals with disabilities; (2) to provide
24                   clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; (3) to ensure
25                   that the Federal government plays a central role in enforcing the
                     standards established in this act on behalf of individuals with
26
                     disabilities; and (4) to invoke the sweep of Congressional
27                   authority, including the power to enforce the 14th Amendment and
                     to regulate commerce, in order to address the major areas of
28                   discrimination faced day to day by people with disabilities.
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1
        35.         As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),
2

3    Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”

4    (Section 301 42 U.S.C. §12181, et seq.). Among the public accommodations identified for
5
     purposes of this title was:
6
                    (7) PUBLIC ACCOMMODATION - The following private
7                   entities are considered public accommodations for purposes of this
                    title, if the operations of such entities affect commerce -
8
                    ...
9                   (A) an inn, hotel, motel, or other place of lodging ***;

10                  42 U.S.C. §12181(7)(A).
11
        36. Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated
12
     against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
13
     privileges, advantages, or accommodations of any place of public accommodation by any person
14

15   who owns, leases, or leases to, or operates a place of public accommodation.”

16      37. The specific prohibitions against discrimination set forth in §302(b)(2)(a),
17
     42 U.S.C. §12182(b)(2)(a) are:
18
                    (i) the imposition or application of eligibility criteria
19                  that screen out or tend to screen out an individual with a disability
                    or any class of individuals with disabilities from fully and equally
20
                    enjoying any goods, services, facilities, privileges, advantages, or
21                  accommodations, unless such criteria can be shown to be
                    necessary for the provision of the goods, services, facilities,
22                  privileges, advantages, or accommodations being offered;
23
                    (ii) a failure to make reasonable modifications in
24                  policies, practices, or procedures, when such modifications are
                    necessary to afford such goods, services, facilities, privileges,
25                  advantages or accommodations to individuals with disabilities,
                    unless the entity can demonstrate that making such modifications
26
                    would fundamentally alter the nature of such goods, services,
27                  facilities, privileges, advantages, or accommodations;

28                  (iii) a failure to take such steps as may be necessary to
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1                   ensure that no individual with a disability is excluded, denied
                    services, segregated or otherwise treated differently than other
2
                    individuals because of the absence of auxiliary aids and services,
3                   unless the entity can demonstrate that taking such steps would
                    fundamentally alter the nature of the good, service, facility,
4                   privilege, advantage, or accommodation being offered or would
                    result in an undue burden;
5

6                   (iv) a failure to remove architectural barriers, and
                    communication barriers that are structural in nature, in existing
7                   facilities . . . where such removal is readily achievable; and
8
                    (v) where an entity can demonstrate that the removal of
9                   a barrier under clause (iv) is not readily achievable, a failure to
                    make such goods, services, facilities, privileges, advantages or
10                  accommodations available through alternative methods if such
                    methods are readily achievable.
11

12   The acts of Defendant set forth herein were a violation of plaintiff’s rights under the ADA, 42.

13   U.S.C. §§ 12181 et seq.; Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §
14
     4101:1-11, et sec., making available damage remedies.
15
        38. The removal of the barriers complained of by plaintiff as hereinabove alleged
16
     was at all times after January 26, 1992 “readily achievable” as to the subject QUALITY INN &
17

18   SUITES hotel pursuant to 42 U.S.C. §12182 (b)(2)(A)(i)-(iv). On information and belief, if the

19   removal of all the barriers complained of herein together was not “readily achievable,” the
20
     removal of each individual barrier complained of herein was “readily achievable.” On
21
     information and belief, Defendant’s failure to remove said barriers was likewise due to
22
     discriminatory practices, procedures and eligibility criteria, as defined by §302(b)(2)(a)(i)-(iii);
23

24   42 U.S.C. §12182 (b)(2)(A)(i).

25      39. Per §301(9), 42 U.S.C. §12181 (9), the term “readily achievable” means “easily
26
     accomplishable and able to be carried out without much difficulty or expense.” The statute
27
     defines relative “expense” in part in relation to the total financial resources of the entities
28
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1    involved. Plaintiff alleges that properly repairing, modifying, or altering each of the items that
2
     plaintiff complains of herein were and are “readily achievable” by the Defendant under the
3
     standards set forth under §301(9) of the Americans with Disabilities Act. Further, if it was not
4
     “readily achievable” for Defendant to remove each of such barriers, Defendant has failed to
5

6    make the required services available through alternative methods which were readily achievable.

7       40. On information and belief, construction work on, and modifications of, the
8
     subject QUALITY INN & SUITES hotel occurred after the compliance date for the Americans
9
     with Disabilities Act, January 26, 1992, independently triggering access requirements under Title
10
     III of the ADA.
11

12      41. Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, et

13   seq., §308, plaintiff is entitled to the remedies and procedures set forth in §204(a) of the Civil
14
     Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination on
15
     the basis of disability in violation of this title or has reasonable grounds for believing that he
16
     is about to be subjected to discrimination in violation of §302. Plaintiff cannot return to or make
17

18   use of the public facilities complained of herein so long as the premises and Defendant’s policies

19   bar full and equal use by persons with physical disabilities.
20
        42. Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person
21
     with a disability to engage in a futile gesture if such person has actual notice that a person or
22
     organization covered by this title does not intend to comply with its provisions.” Pursuant to this
23

24   last section, plaintiff has not returned to Defendant’s premises since on or about December 13,

25   2018 through December 14, 2018, but alleges that Defendant has continued to violate the law
26
     and deny the rights of plaintiff and of other persons with physical disabilities to access this
27
     public accommodation. Pursuant to §308(a)(2), “In cases of violations of §302(b)(2)(A)(iv) . . .
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 16
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1    injunctive relief shall include an order to alter facilities to make such facilities readily accessible
2
     to and usable by individuals with disabilities to the extent required by this title.”
3
           43. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights
4
     Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to implement
5

6    the Americans with Disabilities Act of 1990, including but not limited to an order granting

7    injunctive relief and attorneys’ fees. Plaintiff will seek attorneys’ fees conditioned upon being
8
     deemed to be the prevailing party.
9
           44. Plaintiff seeks damages pursuant to Ohio Revised Code § 4112.02, et seq. and Ohio
10
     Administrative Code § 4101:1-11, et sec., which provide, within the statutory scheme, that a
11

12   violation of the ADA and/or Ohio’s accessibility standards is a violation of Ohio law.

13            Wherefore, plaintiff prays for relief and damages as hereinafter stated.
14
     II.      SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
15            IN VIOLATION OF OHIO REVISED CODE § 4112.02, et seq.

16         45. Plaintiff repleads and incorporates by reference as if fully set forth again herein,
17
     the allegations contained in paragraphs 1 through 45 of this complaint.
18
           46. At all times relevant to this action, Ohio Revised Code § 4112.0254 has provided
19
     that persons with physical disabilities are not to be discriminated against because of physical
20

21   handicap or disability. This section provides that:

22                    It shall be an unlawful discriminatory practice:
23
                      (G)     For any proprietor or any employee, keeper, or manager of a place of
24                            public accommodation to deny to any person, except for reasons
                              applicable alike to all persons regardless of race, color, religion, sex,
25                            military status, national origin, disability, age, or ancestry, the full
                              enjoyment of the accommodations, advantages, facilities, or privileges of
26
                              the place of public accommodation.
27
           47. QUALITY INN & SUITES hotel is a “place of public accommodation” pursuant to Ohio
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 17
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1    Revised Code § 4112.01(A)(9).
2
         48. Defendant committed an unlawful act pursuant to Ohio Revised Code §4112.02(G) by
3
     denying plaintiff the full enjoyment of its accommodations, advantages, facilities, or privileges,
4
     whereas, plaintiff had great difficulty due to extensive barriers for patrons confined to
5

6    wheelchairs.

7        49. Pursuant to Ohio Revised Code § 4112.99, plaintiff is entitled to compensatory
8
     and punitive damages, and attorney fees and costs, in an amount to be determined at trial, but in
9
     any event not less than $25,000.00, as well as issuance of an injunction requiring Defendant to
10
     allow full and equal enjoyment of its goods, services, facilities, privileges, and advantages to
11

12   disabled persons.

13       50. A separate act in violation of Ohio Revised Code § 4112.02(G) has been committed each
14
     day that Defendant acts or fail to act and/or knowingly and willfully fails and refuse to remove
15
     each architectural barrier or policy and procedure barrier presently existing at the subject public
16
     accommodation which denies full and equal access for persons with physical disabilities to said
17

18   building(s), elements and facilities of QUALITY INN & SUITES hotel. Plaintiff has been denied

19   full and equal access on an ongoing basis since the date of his first visit. As a legal result,
20
     plaintiff is entitled to seek appropriate relief, such as damages, pursuant to Ohio Revised Code §
21
     4112.99.
22
         51. On or about December 13, 2018 through December 14, 2018, plaintiff suffered violations
23

24   of Ohio Revised Code §4112.02(G) in that he was denied access to the facilities as stated herein

25   at QUALITY INN & SUITES hotel and on the basis that he was a person with physical
26
     disabilities.
27
         52. As a result of the denial of equal access to Defendant’s facility due to the acts
28
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1    and omissions of Defendant in owning, operating and maintaining the subject public facility,
2
     plaintiff suffered violations of his civil rights, as well as suffering from shame, humiliation,
3
     embarrassment, frustration, anger, chagrin, disappointment and worry, all of which are
4
     expectedly and naturally associated with a denial of access to a person with physical disabilities,
5

6    all to plaintiff’s damages as hereinafter stated.

7           53. Plaintiff has been damaged by Defendant’s wrongful conduct and seeks the relief
8
     that is afforded by Ohio Revised Code § 4112 for violation of his rights, including statutory
9
     damages according to proof.
10
            54. As a result of Defendant’s acts and omissions in this regard, plaintiff has been
11

12   required to incur legal expenses and hire attorneys in order to enforce his rights and

13   enforce the provisions of the law protecting access for persons with physical disabilities and
14
     prohibiting discrimination against persons with physical disabilities. Pursuant to the provisions
15
     of Ohio Revised Code § 4112, plaintiff therefore will seek recovery in this lawsuit for all
16
     reasonable attorneys’ fees and costs incurred if deemed the prevailing party.
17

18             Wherefore, plaintiff prays for relief and damages as hereinafter stated.

19   III.      THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
               IN VIOLATION OF OHIO ADMINISTRATIVE CODE § 4101:1-11, et seq.
20

21          55. Plaintiff repleads and incorporate by reference as if fully set forth again herein,

22   the allegations contained in paragraphs 1 through 54 of this complaint.
23
            56. Ohio Administrative Code (hereinafter “O.A.C.”) § 4101:1-11 controls the design and
24
     construction of facilities for accessibility for individuals with disabilities.
25
            57. Sites, buildings, structures, facilities, elements and spaces, temporary or
26

27   permanent, shall be accessible to individuals with disabilities. O.A.C. § 1103.1.

28          58. QUALITY INN & SUITES hotel, being a site, building, structure, facility, element or
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 19
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1    space, committed an unlawful act pursuant to O.A.C. § 1103.1 by failing to provide an accessible
2
     hotel to individuals with disabilities due to the barriers to access as described in this Complaint.
3
        59. Defendant’s violations denied plaintiff his full enjoyment of its accommodations,
4
     advantages, facilities, or privileges, whereas, plaintiff had great difficulty utilizing the property
5

6    due to extensive barriers for patrons confined to wheelchairs.

7       60. As a result of these violations, plaintiff is entitled to compensatory and punitive
8
      damages, and attorney fees and costs, in an amount to be determined at trial, but in any event
9
      not less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow full
10
      and equal enjoyment of its goods, services, facilities, privileges, and advantages to disabled
11

12    persons.

13      61. As a result of Defendant’s accessibility violations, plaintiff suffered violations of his
14
     civil rights, as well as suffering from injury, shame, humiliation, embarrassment, frustration,
15
     anger, chagrin, disappointment and worry, all of which are expectedly and naturally associated
16
     with a denial of access to a person with physical disabilities, all to plaintiffs’ damages as
17

18   hereinafter stated.

19      62. Plaintiff has been damaged by Defendant’s wrongful conduct and seek relief
20
     for violation of the O.A.C., including actual and special damages, according to proof.
21
        63. As a result of Defendant’s acts and omissions in this regard, plaintiff has been
22
     required to incur legal expenses and hire attorneys in order to enforce plaintiff's rights and
23

24   enforce the provisions of the law protecting access for persons with physical disabilities and

25   prohibiting discrimination against persons with physical disabilities. Plaintiff therefore will seek
26
     recovery in this lawsuit for all reasonable attorneys’ fees and costs incurred if deemed the
27
     prevailing party.
28
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1              Wherefore, plaintiffs pray for relief and damages as hereinafter stated.
2
     O.R.C. 4112.16 NOTICE OF VIOLATION OF ACCESSIBILITY LAW
3
          64. Pursuant to O.R.C. 4112.16 Notice of Violation of Accessibility Law, prior to
4
     filing a civil action alleging violation of State of Ohio accessibility law, the alleged aggrieved
5

6    party may notify the owner, agent, or other responsible party, by personal service or by certified

7    mail, of alleged accessibility law violations.
8
          65. On July 25, 2019, NEAL served upon Defendant’s statutory agent a Notice of
9
     Violation of Accessibility Law pursuant to O.R.C. 4112.16.
10
          66. Defendant’s statutory response deadline in which to serve NEAL with its
11

12   response was August 12, 2019.

13        67. Defendant failed to serve a response upon NEAL or his counsel within 15 days of
14
     receiving the O.R.C. 4112.16 Notice.
15
          68. Due to Defendant’s failure to respond in accordance with the statute, NEAL
16
     may commence his lawsuit for violations of State of Ohio accessibility laws.
17

18        69. Due to Defendant’s failure to respond in accordance with the statute, NEAL, if

19   deemed the prevailing party, shall recover reasonable attorney’s fees, in addition to any other
20
     remedies available to the plaintiff.
21
               Wherefore, Plaintiff SPENCER NEAL prays for relief and damages as hereinafter
22
     stated.
23

24   PRAYER:

25             Wherefore, Plaintiff SPENCER NEAL prays that this court grant relief and damages as
26
     follows:
27
     I.        PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
28             PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 21
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1           DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)
2
            1.       For injunctive relief, compelling Defendant to make QUALITY INN & SUITES
3
     hotel, readily accessible to and usable by individuals with disabilities; and to make reasonable
4
     modifications in policies, practice, eligibility criteria and procedures so as to afford full access to
5

6    the goods, services, facilities, privileges, advantages and accommodations being offered.

7           2.       For attorneys’ fees, litigation expenses and costs of suit, if plaintiff is deemed
8
     the prevailing party; and
9
            3.       For such other and further relief as the court may deem proper.
10
     I.     PRAYER FOR SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND
11
            EQUAL ACCESS IN VIOLATION OF OHIO REVISED CODE § 4112.02, et
12          seq.

13          4.       For injunctive relief, compelling Defendant to make QUALITY INN & SUITES
14
     hotel, readily accessible to and usable by individuals with disabilities, per state law.
15
            5.       General and compensatory damages according to proof;
16
            6.       All damages for each day, from the inception of the filing of this complaint, on
17

18   which Defendant have failed to remove barriers which denied plaintiff and other persons with

19   disabilities full and equal access.
20
            7.       Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if plaintiff is deemed
21
     the prevailing party;
22
            8.       Punitive damages, pursuant to Ohio Revised Code § 2315.21;
23

24          9.       For all costs of suit;

25          10.      Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);
26
            11.      Such other and further relief as the court may deem just and proper.
27
     III.   PRAYER FOR THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND
28          EQUAL ACCESS IN VIOLATION OF OHIO ADMINISTRATIVE CODE §
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1           4101:1-11, et seq.
2
            12.      For injunctive relief, compelling Defendant to make QUALITY INN & SUITES
3
     hotel readily accessible to and usable by individuals with disabilities, per state law.
4
            13.      General and compensatory damages according to proof;
5

6           14.      All damages for each day, from the inception of the filing of this complaint, on

7    which Defendant have failed to remove barriers which denied plaintiffs and other persons with
8
     disabilities full and equal access.
9
            15.      Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if plaintiff is deemed
10
     the prevailing party;
11

12          16.      Punitive damages, pursuant to Ohio Revised Code § 2315.21;

13          17.      For all costs of suit;
14
            18.      Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);
15
            19.      Such other and further relief as the court may deem just and proper.
16
                                              Respectfully submitted,
17

18
                                              BLAKEMORE, MEEKER & BOWLER CO., L.P.A.

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25

26

27

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 23
